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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                                   SAN JOSE DIVISION

10

11   In re Google RTB Consumer Privacy        CASE NO. 4:21-cv-02155-YGR-VKD
     Litigation,
12
                                              JOINT STIPULATION AND [PROPOSED]
13                                            ORDER REVISING CASE SCHEDULE
14   This Document relates to: all actions.   Civil L.R. 6-1(b); 6-2(a)
15
                                              ** as modified by the Court **
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     JOINT STIPULATION AND [PROPOSED] ORDER REVISING
     CASE SCHEDULE
                                                                          4:21-CV-02155-YGR-VKD
       Case 4:21-cv-02155-YGR Document 221 Filed 06/01/22 Page 2 of 5




 1         WHEREAS, Plaintiffs have moved to amend the case schedule on April 8, 2022 (“Motion

 2 to Amend”)(Dkt. No. 178);

 3         WHEREAS, on April 13, 2022, Defendant Google opposed the Motion to Amend on the

 4 grounds that the motion was premature while certain discovery motions were then pending before

 5 Magistrate Judge DeMarchi (Dkt. No. 179);

 6         WHEREAS, Magistrate Judge DeMarchi entered discovery orders on April 29, 2022, May

 7 3, 2022, and May 16, 2022 (Dkt. Nos. 189, 190, 202);

 8         WHEREAS, the Parties have further met and conferred and reached agreement to revise the

 9 case schedule, as set forth below;

10         WHEREAS, good cause exists to extend the case schedule to allow pre-class certification

11 discovery to occur efficiently; and

12         WHEREAS, except for Plaintiffs’ Motion to Amend, which has not yet been ruled upon,

13 there have been no prior requests to extend the case schedule;

14         NOW, THEREFORE, the Parties stipulate to a revised case schedule as follows, subject to

15 Court approval:

16               EVENT                        CURRENT CASE              PARTIES’ STIPULATED
                                                SCHEDULE                 PROPOSED REVISED
17                                            (Dkt. Nos. 83, 152)           SCHEDULE
18
      Substantial Document               April 21, 2022                July 11, 2022
19    Production Complete

20    Class Certification Motion         Motion: June 23, 2022         Motion: September 26, 2022
                                         Opposition: August 4, 2022    Opposition: November 21,
21
                                         Reply: September 2, 2022      2022
22                                                                     Reply: January 12, 2023
                                         Hearing: September 30, 2022
                                         at 2:00 p.m.                  Hearing: January 31, 2023 at
23
                                                                       2:00p.m.
24
                                                                       To be reset at a later date
25

26    Fact Discovery Cut-Off             December 15, 2022             March 24, 2023
27    Opening Expert Reports             January 12, 2023              April 20, 2023
28
                                                      2
     JOINT STIPULATION AND [PROPOSED] ORDER REVISING
     CASE SCHEDULE                                                     Case No. 4:21-cv-02155-YGR-VKD
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 1    Rebuttal Expert Reports         February 9, 2023               June 1, 2023
 2    Close of Expert Discovery       March 2, 2023                  June 30, 2023
 3    Dispositive/Daubert Motions     Motions: March 23, 2023     Motions: July 21, 2023
 4    1 dispositive motion per side   Oppositions: April 20, 2023 Oppositions: August 18, 2023
      in the entire case                                          Replies: September 8, 2023
                                      Replies: May 11, 2023
 5
      3 Daubert motions per side in   Hearing: May 30, 2023 at Hearing: October 3, 2023
 6    the entire case                 2:00 p.m.
      Pretrial Conference No. 1       July 28, 2023 at 9:30 a.m.  December 1, 2023 at 9:30
 7
                                                                     a.m
 8
      Pretrial Conference No. 2                                      January 19, 2024 at 9:30 a.m.
 9

10    Jury Trial                      August 21, 2023 at 9:00 a.m.   February 19, 2024 at 9:00 a.m.
11

12   SO STIPULATED.
13

14   Dated: May 25, 2022
15
      PRITZKER LEVINE LLP                                COOLEY LLP
16
      By: /s/ Elizabeth C. Pritzker                      By: /s/ Jeffery M. Gutkin__
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     JOINT STIPULATION AND [PROPOSED] ORDER REVISING
     CASE SCHEDULE                                                   Case No. 4:21-cv-02155-YGR-VKD
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 7
                                                  Attorneys for Defendant GOOGLE LLC
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     JOINT STIPULATION AND [PROPOSED] ORDER REVISING
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 5
                                [PROPOSED] ORDER
 6                    GRANTING AMENDMENT OF CASE SCHEDULE

 7

 8 SO ORDERED.

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          June 1
10 Dated: __________, 2022
                                              Hon. Yvonne Gonzalez Rogers
11                                            United States District Court Judge for the
12                                            Northern District of California

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     JOINT STIPULATION AND [PROPOSED] ORDER REVISING
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